Case 3:22-cv-00093-PDW-ARS   Document 138-2   Filed 03/27/25   Page 1 of 2




                         EXHIBIT B
            Case 3:22-cv-00093-PDW-ARS                      Document 138-2             Filed 03/27/25          Page 2 of 2




From: Grant Bakke <gbakke@bgwattorneys.com>
Sent: Tuesday, March 18, 2025 4:35 PM
To: Noel, Andrew J. <ANoel@RobinsKaplan.com>
Subject: [EXTERNAL] Allen v. Rolette County, et al.

Andy,

In response to your question during our phone call earlier this afternoon, I have conﬁrmed with my clients that
should your client accept the Rule 68 o er of judgment served today, the entire settlement amount would be
provided by NDIRF.

If you have any other questions please do not hesitate to contact me.

Grant Bakke
A orney




300 West Century Avenue
Bismarck, ND 58503
Phone: (701) 751-8188
Fax: (701) 751-7172
gbakke@bgwa orneys.com

*** CONFIDENTIALITY NOTE ***
This e-mail, including a achments, is covered by the Electronic Communica ons Privacy Act, 18 U.S.C. 2510 et seq., is conﬁden al,
and/or is legally privileged. It is intended for use only by the person to whom it is directed. If you are not the intended recipient
and/or received it in error, you should (1) reply by e-mail to the sender; (2) delete this e-mail, including dele on of all associated text
ﬁles from all storage loca ons including individual and network storage devices; and (3) refrain from dissemina ng or copying this
communica on. Thank you.




                                                                     1
